Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 1 of 29

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. . T 'tt lN b :14790649
Notlce of Service of Process 'aB§t“§'Praoce`;'§‘e£'oz/imm

Primary Contact: Bruce Buttaro
leerty Mutuai insurance Company
175 Berkeiey Street
Boston, MA 02117

 

 

Entity: Liberty Mutual insurance Company
Entity |D Number 1765547
Entity Served: Liberty Mutua| insurance Company
Title of Action: Julio Santiago vs. i_iberty l\/lutua| insurance Company
Document(s) Type: CitatiOn/Petltion
Nature of Action: COntraCt
CourtlAgency: Harris County District Court, Texas
Case/Reference No: 201603743
Jurisdiction Served: TeXaS
Date Served on CSC: 02/12/2016
Answer or Appearance Due: 10:00 am l\/ionday next following the expiration of 20 days after service
Origina|iy Served On: CSC
How Served: Persona| Service
Sender information: Bryant Fitts

713-871-1670

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
CSC is SAS70 Type l/ certified for its Litigation Management System.
2711 Centerviile Road Wiimington, DE 19808 (888) 690-2882 l sop@cscinfo.com

ExHiBiT

_I._____

 

 

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CAUSE NO. 201603743

 

RECEIPT NO. 0.00 ATY
*""****' Tn t 73211179
emma-trw sAu'rIAGo, Jur.zo ` 1a 'rhe mm
va. Judicial Diatrict Court
DEFENDANT: LIBERTY MUTUAL INSURANCE CGMPANY of Harris County, Texas

127TH DISTRICT COURT
Houston. TX

CITATION

THE STATE OF TEXAS
County of Harris

 
   
  
 

RANCE COMPANY NAY 11
.RVICE COMP~
211 EAST 7TH STREET SUITB 620` BOUSTON 'TX 78701 ~ 3218.

Arta¢hed is a copy or MMMMQLMMMM

TO% SERVED THROUGH THE RBGISTERED

     

LIB

 
      

This instrument was filed on the gl§§ gay gf_gggug;y, ggl§, in the above cited cause number
and court. The instrument attached describes the claim against you.

YOU HAVE BEBN\SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10;00 a.m on the Mondey
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.

TO OFFICER SERVING:
This citation was issued on 29th day of January, 2016, under my hand and

seal of said Court.
Ca-:.@..z

CHRIS BANIEL, Diatrict Clerk

Harris County, Texas

201 Cazoline, Houoton, Texas 77002
(P.O. Box 4651, Houston, Texaa 77210)

Geherat€d BY! MQMON, RHONDA HICHELLE
HWP//10290758 `

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uELpIT, cARLA n

2700 PosT oAK BLvD sUITE 1120
nousToN, Tx 17056

Tel: (713) 871-1670

§§;_Ng*: 24082183

  

 

oFFIcER/Autnonrzso reason aaronu

 

 

 

 

Came to hand at o'clock ___.M., on the _____ day of . .
Executed at (address) in
County at _____ o'clock ___.M., on the _____ day of ,

, by delivering to defendant, in peraon, a

 

 

true copy of this Citation together with the accompanying copyliee) of the Petition

 

attached thereto and I endorsed on said copy of the Citation the date of delivezy. _
To certify which I affix my hand officially this day of , . §

FEE: $

 

 

of County, Texas

   

By
Affiant Deputy

 

 

On this day, , known to me to be the person whose
signature appears on the foregoing return, personally appeared. After being by me duly ewoxn,
he/ehe stated that this citation was executed by him/her in the exact manner recited on the
return.

 

SWORN TO AND SUBSCRIEED BEFORE HE, On this ` day of ,

 

Notary public

N.!NT.CI'IR.P .73211179'

 

 

 

Case 4:16-cV-00674 Document 1-1 Fl|ed in TXSD on 03/14/16 Page 3 of 29
1 ’ 1/21/2016 9;58:32 AM
Chris Daniel ~ Distrlct Cierk Harris County
Enve|ope No. 8715217
By: Ariana Gan'bay
r=iied: 1121/2016 9153:32 AM

No.

JULIO SANTIAGO AND PATRICIA § IN THE DISTRICT COURT
DoUGLAS §
Plaintiffs, §
§

v. § JUDICIAL DISTRICT
§
LIBERTY MUTUAL INSURANCE §
coMPANY and STEPHEN LAWRENCE §
BELL, §

Defendams. § HARRIS coUNTY, TEXAS

PLAINTIFFS’ ORIGINAL PETITION AND
INITIAL WRITTEN I)ISCOVERY REQUESTS

Pursuant to the Texas Ruies of Civil Procedure, Plaintiffs, Julio Santiago and Patricia
Douglas, file this Original Petition and Initial Written Discovery Requests, complaining of the acts
and omissions_of Defendants, Liberty Mutual lnsurance Comp`any, and Stephen Lawrence Bell
and, in support, respectfully show the Court as follows:

. I.
DISCOVERY CONTROL PLAN

1. This case is intended to be governed by Discovery Level 2.

II.
PARTIES & SERVICE

2. Julio Santiago and Patricia Douglas (“Plaintiffs”) reside in Harris County, Texas.

3. Defendant Liberty Mutual Insurance Cornpany (“LIBERTY MUTUAL”) is an
insurance company doing business in Texas and it may be served with process through the
Registered Agent, Corporation Service Company, 211 East 7th Street Suite 620, Austin Texas

78701 - 3218.

PLAINT[FF’S ORIGINAL PETITION AND
INITIAL WRITTEN DISCGVERY REQUESTS

PAGE l

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 4 of 29
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4. Defendant, Stephen Lawrence Bell (“Bell”), is an individual who assisted with
adjusting the claim at issue and is a resident of the State of Texas. This Defendant may be served
with process at 16431 Pemcanyon, San Antonio, Texas 78240 or wherever he may be found.

III.
JURISDICTION & VENUE

5. This court has subject matter jurisdiction of this cause of action because it involves
an amount in controversy in excess of the minimum jurisdictional limits of this Court. No diversity
of citizenship exists in this matter.

6. Plaintiffs prefer to have the jury determine the fair amount of compensation for
Plaintiffs’ damages, it is early in the case to be assessing the full nature and scope of Plaintiffs’
damages, and Plaintiffs place the decision regarding the amount of compensation to be awarded in
the jury’s hands. Rule 47 of the Texas Rule of Civil Procedure, however, requires Plaintiffs to
provide a statement regarding the amount of monetary relief sought. Accordingly, pursuant to
Rule 47 of the Texas llules of Civil Procedure, PlaintiH`s seek monetary relief between
$100,000.00 and $500,000.00.

7 . Venue is proper in Harris County, Texas because the insured property is situated in
Harris County, Texas and/or the contract was signed in Harris County, Texas. Tex. Civ. Prac. &
Rem. Code § 15.002.

IV.
FACTS

8. Plaintiffs are named insured under a property insurance policy (the “Policy"’) issued
by LIBERTY MUTUAL. The Policy insures, among other things, against losses nom wind and
hail damage to Plaintiff’s propexty, namely, the real property and improvements located at 1900

Shadylane, Richmond, TX 77469 (the “Property”).

PLAINTIFF’S ORIGINAL PETITION » PAGE 2

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 5 of 29
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9. On or about March 26, 2014, Plaintiffs found moisture in the interior of her home
that was coming from the roof.

lO. Shortly after discovering the water damage, on or about March 26, 2014, Plaintiffs
contacted LIBERTY MUTUAL by telephone to notify LIBERTY MUTUAL of the damage.
Plaintiffs submitted a claim to LIBERTY MUTUAL against the Policy for all roof damage,
structural damage, water damage, and wind damage the Property sustained as a result of the storm.
Although the date of the loss on the claim is March 26, 2014, Plaintiff has learned that on or about
October 26, 2013 or October 31, 2013, during the policy period, there had been storms that caused
covered damage to the Subject Property. Specifically, the storm damaged Plaintiffs’ roof, gutter,
and fence.

l l. n Plaintiffs~asked LIBERTY MUTUAL to honor its contractual obligations and cover
the cost of repairs to Plaintiffs’ home. '

12. LIBERTY MUTUAL assigned Defendant Bell to adjust the Claim. Defendants
LIBERTY MUTUAL and Bell conducted a substandard investigation of Plaintiffs’ claim, failed
to thoroughly investigate Plaintiffs’ losses, and spent an inadequate amount of time on the
investigation, no more than 30 minutes. He failed to fully inspect all damaged areas of Plaintiffs’
home.

13. Despite obvious visible wind damage to Plaintiffs’ gutter, fence, kitchen, dining
room, living room ceiling, garage door, and multiple indentations in the roof caused by wind and
hail, Bell, on his own behalf and on behalf of LIBERTY MUTUAL, verbally misrepresented to
the Plaintiffs at the time of the inspection that there was no wind or hail damage to their roof and

that the interior damage was from smoke Bell then misrepresented, again on his own behalf and

PLAINTIFF’S ORIGINAL PETITION ` PAGE 3

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 6 of 29
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on behalf of LIBERTY MUTUAL in a letter to Plaintiffs dated March 30, 2014 that Plaintiffs’
home had sustained no damage.

14. Together, Defendants LIBERTY MUTUAL and Bell set out to deny properly
covered damages by performing a results-oriented investigation of Plaintiffs’ claim, which resulted
in a biased, unfair, and inequitable evaluation of Plaintiifs’ losses on the Property.

15. Defendant LIBERTY MUTUAL failed to perform its contractual obligation to
adequately compensate Plaintiffs under the terms of the Policy. All conditions precedent to
recovery upon the Policy have been performed by Plaintiffs. LIBERTY MUTUAL’s conduct
constitutes a breach of the insurance contract between LIBERTY MUTUAL and Plaintit`fs.

l6. Even though Plaintiffs’ home sustained obvious damages caused by a covered
occurrence, Defendants misrepresented to Plaintiffs that the Policy did provide coverage for some
of the damage, thus falsely claiming Plaintiffs’ horne had not been damaged. Defendants’ conduct
is a violation of the Texas Insurance Code, Unfair Settlement Practices. TE;X. INS. CODE
§541.060(a)(1).

17. Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner,
although they were aware of their liability to Plaintiifs under the Policy. Defendants’ conduct is a
violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE
§541.060(a)(2)(A).

18. Defendants refused to adequately compensate Plaintiffs under the terms of the
Policy even though they failed to conduct a reasonable investigation of the claim. This conduct

violated the Texas lnsurance Code, Unfair Settlement Practices. TEX. lNS. CODE §541.060(a)(7),

PLAINTIFF’S ORIG[NAL PETI'I`ION PAGE 4

 

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 7 of 29

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19. Defendants failed to provide Plaintiffs with a reasonable explanation for the denial
of their claim. This conduct violated the Texas Insurance Code, Unfair Settlement Practices. TEX.
INS. CODE §541.060(a)(3).

20. Defendant LIBERTY MUTUAL failed to timely acknowledge Plaintiffs’ claim,
begin an investigation of the claim, and request all information reasonably necessary to investigate
Plaintiffs’ claim within the statutorily mandated time of receiving notice of the claim, This conduct
violated the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.

21. Defendant LIBERTY MUTUAL failed to accept Plaintiffs’ full and entire claim
within the statutorily mandated time of receiving all the necessary information This conduct was
a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.056.

22. Defendant LIBERTY MUTUAL has delayed payment of Plaintiffs’ claim longer
than allowed, and, to date, Plaintiffs have not received any payment for their claim. This conduct
is a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX~ INS. CODE
§542.058.

23. Since the time Plaintiffs’ claim was presented to Defendant LIBERTY MUTUAL,
k the liability of LIBERTY MUTUAL to pay the full claim in accordance with the terms of the
Policy has been reasonably clear. Nevertheless, LIBERTY MUTUAL has refused to pay, despite
there being no basis on which a reasonable insurance company would have relied to deny the
claim, This conduct is a violation of LIBERTY MUTUAL’s duty of good faith and fair dealing.

24. All Defendants knowingly or recklessly made false representations, as described
above, as to material facts. Alternatively, all Defendants knowingly concealed all or part of

material information from Plaintiffs.

PLAINTIFF’S ORIGINAL PETITION PAGE 5

 

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 8 of 29

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25. To date, Plaintiffs have yet to receive full payment for the damages to which
Plaintiffs are entitled under the Policy. Plaintiffs have suffered damages as a result of the
Defendants’ actions described above, The mishandling of Plaintiffs’ claim also caused a delay in
Plaintiffs’ ability to fully repair the Property, resulting in additional damages.

V.
CAUSES OF ACTION

A. Breach of Contract (Against LIBERTY MUTUAL)

'26. Defendant LIBERTY MUTUAL had a contract of insurance with Plaintiffs.
Plaintiffs met or performed all conditions precedent under the contract. LIBERTY MUTUAL
breached the terms of that contract by wrongfully denying the claim and Plaintiffs were damaged
thereby.

27. Defendant LIBERTY MUTUAL is therefore liable to Plaintiffs for breach of
contract.

B. Prompt Payment of Claims Statute (Against LIBERTY MUTUAL)

28. The Claim is a claim under an insurance policy with Defendant LlBERTY .
MUTUAL, of which Plaintiffs gave LIBERTY MUTUAL proper notice, causing LIBERTY
MUTUAL to be liable for the Claim.

29. Defendant LIBERTY MUTUAL violated the prompt payment of claims provisions
of the Texas Insurance Code, namely, section 542.051 et seq., by:

a. F ailing to acknowledge or investigate the claim or to request from Plaintiffs all
items, statements, and forms LIBERTY MUTUAL reasonably believed would

be required within the time constraints provided by Tex. Ins. Code § 542.055;

PLAINTIFF’S OR.IGINAL PETITION PAGE 6

 

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 9 of 29

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b. F ailing to notify Plaintiffs in writing of its acceptance or rejecting of the Claim
within the applicable time constraints provided by Tex. Ins. Code § 542.056;
and/or

c. Delaying payment of the Claim following LIBERTY MUTUAL’s receipt of all l
items, statements, and forms reasonably requested and required, longer than the
amount of time provided by Tex. Ins. Code § 542.058.

30. Defendant LIBERTY MUTUAL is therefore liable to Plaintiffs for damages. In
addition to Plaintiffs’ claim for damages, Plaintiffs are further entitled to 18% interest and
attomeys’ fees as set forth in section 542.060 of the Texas Insurance Code,

C. Unfair Settlement Practices/Bad Faith ngainst All Defendants)

31. hach of the foregoing paragraphs is incorporated by reference in the following.

32. As explained further herein, Defendants violated Tex. Ins. Code§ 541 .060(a) by
engaging in unfair settlement practices.

Defendant LIBERTY MUTUAL

33. Defendant LIBERTY MUTUAL engaged in unfair settlement practices by:

a. misrepresenting to Plaintiffs a material fact or policy provision relating to the
coverage at issue;

b. failing to attempt in good faith to` effectuate a prompt, fair, and equitable
settlement of a claim after LIBERTY MUTUAL’s liability had become
reasonably clear;

c. failing to promptly provide Plaintiffs with a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for the insurer’s

denial of a claim or offer of a compromise settlement of a claim;

PLAINTIFF’S ORIGINAL PETITION PAGE 7

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/1.6 Page 10 of 29

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d. failing within a reasonable time to affirm or deny coverage of a claim to
'Plaintiffs or submit a reservation of rights to Plaintiffs; and

e. refusing to pay the claim without conducting a reasonable investigation with
respect to the claim,

34. Each of the aforementioned unfair settlement practices was committed knowingly
by Defendant LIBERTY MUTUAL and was a producing cause of Plaintiffs’ damages LIBERTY
MUTUAL is therefore liable to Plaintiffs for engaging in such unfair settlement practices and
causing Plaintiffs’ damages.

Defendant Ben

35. Defendant Bell was a contractor and/or adjuster assigned by Defendant LIBERTY
MUTUAL to assist with adjusting the Claim. Defendant Bell was charged with investigating the
Claim and communicated with Plaintiff about the Policy terrns. Insurance adjusters are “persons
engaged in the business of insurance” under Tex. lns. Code 541.001, et seq., and are individually

y liable for violations of the Texas Insurance Code. See Liberty Mut. Ins. Co. v. Garrison
Contractors, Inc:, 966 S.W.Zd 482, 486 (Tex. 1998).

36. Defendant Bell was tasked with the responsibility of conducting a thorough and
reasonable investigation of Plaintiffs’ Claim, including the discovery of covered damages and fully
quantifying covered damages to Plaintiffs’ Property.

37. Defendant Bell conducted a substandard, results-oriented inspection of the Subject
Property. As such, Bell failed to discover covered damages and/or fully'quantify covered damages
to Plaintiffs’ Property, as required by the Policy and Texas law.

38. 'Further, Defendant Bell misrepresented material facts to Plaintiffs, that is, the

existence and true value of Plaintiffs’ covered losses, Additionally, Bell failed to provide Plaintiffs

PLAINTIFF’S ORIGINAL PETITION PAGE 8

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 11 of 29

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with a reasonable explanation as to why LIBERTY MUTUAL was not compensating Plaintiffs for
the covered losses, or the true value thereof.

39. Thus,¢Defendant Bell engaged in unfair settlement practices by:

a. misrepresenting to Plaintiffs a material fact or Policy provision relating to the
coverage at issue;

` b. failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim after LIBERTY MUTUAL’s liability had become 1
reasonably clear;

c. failing to promptly provide Plaintiffs with a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for LIBERTY
MUTUAL’s denial of a claim or offer of a compromise settlement of a claim;
and/or

d. failing to conduct a reasonable investigation of Plaintiffs’ Claim.

40. Each of the aforementioned unfair settlement practices was committed knowingly
by Defendant Bell and was a producing cause of Plaintiffs’ damages Bell is therefore liable to
PlaintiH`s for engaging in such unfair settlement practices and causing Plaintiffs’ damages ll
D. DTPA (Against All Defendants)

41. Each of the foregoing paragraphs is incorporated by reference here fully.

42. 'At all material times herein, Plaintiffs were “consumers” who purchased insurance
products and services from Defendants, and the products and services form the basis of this action.

43. Defendants have violated the Texas Deceptive Trade Practices-Consumer

Protection Act (“DTPA”) in at least the following respects: .

PLAINTIFF’S ORIGINAL PETITION PAGE 9

 

 

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 12 of 29

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e. Defendants represented the Policy confers or involves rights, remedies, or
obligations which it does not have, or involve, or which are prohibited by law;

f. Defendants represented goods, products, or services had sponsorship, approval,
characteristics, uses, benefits, or quantities they do not have;

g. Defendants failed to disclose information concerning goods or services which
was known at the time of the transaction when such failure to disclose such
information was intended to induce Plaintiffs into a transaction Plaintiffs would
not have entered into had the information been disclosed;

h. Defendants, by accepting insurance premiums but refusing without a reasonable
basis to pay benefits due and .owing, engaged in an unconscionable action or
course of action prohibited by DTPA § l7.50(a)(l)(3) in that Defendants took
advantage of Plaintiffs’ lack of knowledge, ability, experience, and capacity to
a grossly unfair degree, resulting in a gross disparity between the consideration
paid in the transaction and the value received, all in violation of Chapter 541 of
the Insurance Code;

i. Generally engaging in unconscionable courses of action while handling the

 

claim; and/or
j. Violating the provisions of the Texas Insurance Code, as further described
elsewhere herein.
44. As a result of Defendants’ violations of the DTPA, Plaintiff suffered actual '
damages, and such violations were a producing, actual, and proximate cause of Plaintiffs’

damages Therefore, Defendants are liable to Plaintiffs for violations of the DTPA.

PLAINTIFF’S ORIGINAL PETITION PAGE 10

 

Case 4:16-cV-00674 Document.1-1 Filed in TXSD on 03/14/16 Page 13 of 29

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45. Further, Defendants knowingly and/or intentionally committed the acts complained
of herein. As such, Plaintiffs are entitled to exemplary and/or treble damages pursuant to the
DTPA and Texas Insurance Code § 541.152(a)-(b).

E. Breach of Duty of Good Faith and Fair Dealing (Against Liberty Mutual Insurance
Company)

46. -Defendant LIBERTY MUTUAL breached the common law duty of good faith and
fair dealing owed to Plaintiffs by denying or delaying payment on the Claim when LIBERTY
MUTUAL knew or should have known liability was reasonably clear. LIBERTY MUTUAL’s
conduct proximately caused Plaintiffs’ damages

47. ' Defendant LIBERTY MUTUAL is therefore liable to Plaintiffs.

F. Attorneys’ Fees

48. Plaintiffs engaged the undersigned attorney to prosecute this lawsuit against
Defendants and agreed to pay reasonable attomeys’ fees and expenses through trial and any appeal.

49. Plaintiffs are entitled to reasonable and necessary attomeys’ fees pursuant to Tex.
Civ. Prac. & Rem. Code §§ 38.001-38.003 because ~Plaintiif is represented by an attorney,(
presented the claim to Defendants, and Defendants did not tender the just amount owed before the
expiration of the 30th day after the claim was presented.

50. Plaintiffs are additionally or alternatively entitled to recover reasonable and
necessary attorneys’ fees pursuant to Tex. Bus. & Com. Code § l7.50(d).

51. Plaintiffs are additionally or alternatively entitled to recover reasonable and

necessary attorneys’ fees pursuant to sections 541.152 and 542.060 of the Texas Insurance Code.

PLAlNTlFF’S ORIGINAL PETITION ‘ PAGE l l

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 14 of 29

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IX.
CONDITIONS PRECEDENT

52. All conditions precedent to Plaintiffs’ right to recover have been fully performed,
or have been waived by Defendants.

X.
JURY TRIAL DEMAND

53. Plaintiffs demand a jury trial of this cause, and has or will tender the appropriate

jury fee.

XI.
DISCOVERY REQUESTS

54. Pursuant to Rule 194, all Defendants are requested to disclose, within fifty (50)
days after service of this request, the information or material described in Rule 194.2(a)-(l).

55. All Defendants are also requested to respond to the attached discovery requests
within fifty (50) days in accordance to the instructions contained therein.

XII.
NOTICE OF INTENT TO USE DISCOVERY AT TRIAL

56. Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiffs hereby gives notice of
Plaintiffs’ intent to use all discovery instruments produced in this case at trial. Such discovery
instruments include, but are not limited to, all documents Defendants have or willl produce in

response to Plaintiffs’ written discovery requests.

XIII.
CONCLUSION & PRAYER

F or these reasons,,Plaintiffs pray that citations be issued and, upon final hearing of the case,
Plaintiffs recover all damages from and against Defendants that may reasonably be established by

a preponderance of the evidence, and Plaintiffs be awarded attomeys’ fees through trial and appeal,

PLAINTIFF’S ORIGINAL PETITION . PAGE 12

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 15 of 29

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costs of court, pre-judgment interest, post-judgment interest, and such other and further relief,

general or special, at law or in equity, to which Plaintiffs may show themselves to be justly entitled.

 

_,', tfullys mitted,

f/Z ~

Bryant Fitts"‘ U‘
Texas State Bar No. 24040904
bfitts@tittslawtirm.com

Carla Delpit

Texas State Bar No` 24082183
cdelpit@fittslawfirm.com
FITTS LAw FIRM, PLLC

2700 Post Oak Blvd., Suite l 120
Houston, Texas 77056
Telephone 713.871.1670
Facsimile 713.583.1492

 

 

ATTORNEYS FoR PLAINTIFFS

PLAINTIFF’S ORIGINAL PETITION ` PAGE 13

 

Case 4:16-cV-00674 Document1-1 Filed in TXSD on 03/14/16 Page 16 of 29

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PLAINTIFF’S FIRST SET OF INTERROGATORIES
AND REQUEST FOR PRODUCTION

PLAINTIFF` in this case requests that Defendant(s) answer the following
Interrogatories and Request for Production separately in writing under oath within 50 days
of service and serve your answers to'these lnterrogatories and Request for Production and
produce related documents on Plaintiff by and through her attorneys of recordj\

Fn'rs LAw FlRM, PLLC

2700 Post Oak Blvd., Suite 1120
Houston, Texas 77056
Telephone 713.871.1670
Facsimile 713.583.1492

The documents must be produced at the office of Fitts Law Firm, PLLC as they
are kept in the usual course of business and organized and labeled to correspond with the
numbers requests

You are under a duty to amend your responses if you obtain information on the
basis of which:

l) You know the response made was incorrect or incomplete when made; or

2) You know the_response, though correct and complete when made, is no longer
true and complete, and the circumstances are such that a failure to amend the
answer in substance is misleading

Respectfully submitted,

Bryant Fitts

Texas State Bar No. 24040904
bfltts@fittslawfirm.com

Carla R. Delpit

Texas State Bar No. 24082183
cdelpit@fittslawiirm.com
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AT'I`ORNEYS FOR PLAlN'I`IFF

 

Case 4:16-cV-00674 Document1-1 Filed in TXSD on 03/14/16 Page 17 of 29

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CERT]FICATE OF SERVICE

This is to certify that, pursuant to the provisions of Texas Rule of Civil Procedure
21a, a true and correct copy of the foregoing document has been attached to the petition

 

Biyant Fitts

 

 

 

Case 4:1_6-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 18 of 29

DEFINITIONS AND INSTRUCTIONS

l. In answering this discovery, please harnish all information available to you,
including information in the possession of your agents, attomeys, investigators for
your attorneys, and not merely known of your personal knowledge.

2. If you are unable to answer a particular question or request in full after exercising
due diligence to obtain the information to do so, please state this and answer the
question or request to the fullest extent possible, specifying and explaining your
inability to answer the entire question or request and stating what information or
knowledge you have concerning the answered portion.

3. In the event that you withhold information or documents or object to a request on
the grounds of a privilege:

Identify the title of the document and it’s general subject matter;

State the date of the document;

Identify the persons who participated in its preparation;

Identify the persons for whom it was prepared or to whom it was sent;

State the nature of the privilege claims; and

State in detail each and every fact upon which you base your claims for

privilege

4. “Documents” is to be interpreted broadly and includes any original, reproduction
or copy of any kind, typed, recorded, graphic, printed, written or documentary,
including without limitation, correspondence, memoranda, calendars, desk files,
interoffice communications notes, diaries, contracts, documents, drawings, plans,
specifications, estimates, inventories, vouchers, permits, written ordinances,
minutes of meetings, inv'oices, billings, checks, reports, studies, telegrams, notice
of telephone conversations, sales receipts and notes of any and all
communications and every other means of recording any tangible thing, any form
of communication of representation, including letters, words, pictures, sounds or
symbols, or combinations thereof in your possession, custody, or control. This
term is intended to include~information, data, and items generated by, recorded
by, and/or stored by or in electronic or digital means and formats, such as
computer drives, computer servers, and/or any other computer, electronic, or
digital means. Such digital or electronic information, data, and items should be
produced in their original, unaltered versions; however, this term also expressly
seeks any corollary files generated pursuant to any alterations of the original
versions and files that otherwise evidence the history, tracking, deletion, and/or
other alteration of such information, data,` and items (i.e., metadata). Inforrnation,
data, and items generated by, recorded by, and/or stored by or in electronic or
digital means and formats are requested to be produced via CD~ROM, DVD, or
similar digital format and to include metadata.

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Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 19 of 29

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5. “You,” “Your,” “Yours,” “Defendants,” and “Defendant” means and refers to all
Defendants in this case, as well all other natural persons, businesses or legal
entities acting or purporting to act for or on behalf of the person or entity to whom
these requests are directed.

6. When asked to identify a person or state the identity of a person, or when an
interrogatory refers to a person, please state

His/her full name;

Present or last known residence address;

Present or last known business address; and,

Present residence and/or business telephone number.

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7. If you decide that one question constitutes more that one question and you plan to
object on the basis of excessive interrogatories; you are instructed to skip that
question and continue to answer the questions that you consider to be single
questions. By answering any numbered question, you are admitting that one
number question is in fact one question and waive and objection based upon a
limit of interrogatories

8. “Plaintiff” and “PlaintiH`s” refer to a single Plaintiff or multiple Plaintiffs, if
applicable

 

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 20 of 29

FIRST SET OF INTERROGATORIES

Interrogato§y No. 1. State the name, address (both work and home), telephone number,
driver’s license number, social security number, and position or job title of all persons
answering these interrogatories

Response:

Interrogatog No. 2. List the date(s) Defendant(s) requested that Plaintiff provide any
of the named Defendants in this cause of action with information, which was required in
order to properly evaluate Plaintiffs claim(s).

Response:

Interrogato§y No. 3. List the date(s) Defendant(s) received Plaintiffs claim(s) for
coverage for property damages, the date(s) Defendant(s) first acknowledged Plaintist
notice of claim(s), and in what form the notice of claim was submitted

Response:

Interrogato§y No. 4. Do you contend that Plaintiff did not provide you and/or the
adjuster or other third parties with all information you and/or the adjuster requested in
order to properly evaluate Plaintist claim? If so, please state what information was
requested and not provided, and the dates of the requests

Response:

Interrogato§y No. 5. State the basis, in fact and in the terms of the policy, for your
denial or partial denial of any portion of Plaintiff’ s claim for coverage for hail damage to
the Subj ect Property (or the adjuster’s recommendation of dcnial).

Response:

Interrogator_'y' No. 6. State the name, address, telephone number, and job title or
position of all persons who issued, adjusted, investigated, reviewed, handled, made
entries or made decisions, or exchanged any documents or communications including
electronic, regarding Plaintiff’s insurance policy or the claim(s) making the basis of this
lawsuit including the name, address and telephone number of the identified person’s
supervisor. For all such persons who are no longer employees, agents, or representatives
of any defendant, please so indicate and provide the person’s last known address and
telephone number.

Response:

 

Case 4:16-cV-00674 Document1-1 Filed in TXSD on 03/14/16 Page 21 of 29

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Interrogato;y No. 7. State the name, address, telephone number and job title or position
of all persons and/or entities in Texas that have been approved to perform outside
adjusting, accounting or engineering investigation and recommendations on Plaintiffs
claims(s).

Response:

Interrogatog No. 8. State the number of years in which any adjuster involved in the
claim at issue has adjusted, investigated and/or recommended any compromise settlement
and/or payment of policies held by the insurance company involved in this case. Please
also provide the date on which such adjuster was licensed as an adjuster in the State of
Texas

Response:

Interrogato§y No. 9. For each adjuster involved with the claim at issue, list any and all
courses, seminars, education, training or other experiences such person has attended or
received concerning knowledge of Texas Insurance Code Chapter 541. Formerly Art.
21.21, et seq., and Texas Insurance Code Chapter 542, formerly Art5. 21.55. et seq.
Please also provide the name, address and telephone number of the entity or individual
that sponsored and/or provided the course, seminar, education, training or other
experience

Response:

Interrogato_r;y No. 10. State the legal theories, and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements
codified in Tex. lns. § 541.060.

Res onse:

Interrogator_'y No. 11. Identify every other insurance claim made for property damage in
the same city/town as the house at issue in this case, and stemming from the same storm,
which claim was denied in part or whole. State the name, phone number and address of
the insured.

Response:

Interrogatog No. 12. For each investigation by a Texas governmental agency within
the last four years into Defendant’s(s’) practices when handling first party claims for
building damage, business personal property damage, state the name of the agency, the
names of all investigators and the names of all government representatives with whom
Defendant(s) communicated for purposes of the investigation

 

Case 4:16-cV-00674 Document1-1 Filed in TXSD on 03/14/16 Page 22 of 29

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Res onse:

Interrogatog_'y No. 13. List any and all courses, seminars, education, training or
reference materials persons involved in adjusting the claim at issue attended or received
specific to handling and investigating building damage.

Response:

Interrogatory No. 14. List any and all experience each person involved in adjusting the
claim at issue has concerning handling or adjusting property damage claims

Res onse:

Interrogato§y No. 15. State the current annual salary each person involved in adjusting
the claim at issue earns nom the adjustment of insurance claims Please state any bonus
and/or profit-sharing proceeds received in the last five years and how those bonus and/or
profit-sharing proceeds were calculated.

Res onse:

Interrogator_'y No. 16. Please state whether Defendant(s) took, or are aware of the taking
of a recorded statement and/or examination under oath of Plaintiff regarding the claim
made the basis of this lawsuit. If a recorded statement and/or examination under oath
was taken, please state the date it was taken and the name of the person taking the
statement Please also state whether the statement was transcribed and where the
statement is currently located and/or the last place Defendant(s) saw a transcription of
same

Response:

Interrogatog No. 17. Identify anyone who recommended payment on Plaintiff’s
claim(s), and if so, state what amount(s).

Resgonse:

Interrogato§y No. 18. State whether any person involved in adjusting the claim at issue
requested or asked for assistance in handling and/or investigating Plaintiff s claim(s), and
if so, identify to whom the request was made

Response:

Interrogato§y' No. 19. State the name, address, and telephone number of the office
which each person involved in adjusting the claim at issue worked while handling
Plaintiffs claim(s), and the name, address and telephone number of each person’s direct
supervisor during that time

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 23 of 29

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Resgonse:

Interrogato§y No. 20. If you received complaints nom an insurance agent concerning
the handling of any hail or windstorm claims made pertaining to the same date of loss as
this case, identify such agent by name, address, and telephone number.

Res onse:

Interrogatog No. 21. Give the name, address and telephone number of all persons
making a claim with you for property damage for the same date of loss as Plaintiff’s
claim, This request is limited to persons who live within a 5-mile radius of Plaintiff’s
insured residence

Resgonse:

 

 

Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 24 of 29

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FIRST SET OF REQUEST FOR PRODUCTION

Reguest for Prot_l_i_iction No. 1. A certified copy of the insurance policy issued by
Defendant to Plaintiff

Response:

Reguest for Production No. 2. The underwriting files referring or relating in any way to
the policy at issue in this action, including the file folders in which the underwriting `
documents are kept and drafts of all documents in the file

Resgonse:

west for Production No. 3. The claim files from the home, regional, local offices
and third party adjusters/adjusting firms regarding the claim that is the subject of this
matter, including copies of the file jackets “filed” files and notes and drafts of
documents contained in the file.

Resgonse:

Reguest for Production No. 4. The electronic diary, including the electronic and paper
notes made by Defendant’s(s’) claims personnel, contractors and third party
adjusters/adjusting firms relating to the Plaintiff claims

Response:

Reguest for Production No. 5. Your written procedures or policies (including
document(s) maintained in electronic form) that pertain to the handling of windstorm
claims in Texas from the date of the loss at issue in this claim, and one year, and forward
one year. If the party answering this request is an independent adjuster, produce the
requested documents for both the independent adjusting company and the party [carrier]
that hired you with respect to this claim,

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Case 4:16-cV-00674 Document 1-1 Filed in TXSD on 03/14/16 Page 25 of 29

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Reguest for Prod_i_ictior_i No. 6. Your written procedures or policies (including
document(s) maintained in electronic form) in place from the date of loss at issue in this
claim, and back on year, and forward one year, that pertain to the handling of complaints
made by windstorm policyholder in Texas If the party answering this request is an
independent adjusted, produce the requested documents for both the independent
adjusting company and the party [carrier] that hired you with the respect to this claim.

l Response:

RM\_iest for Production No. 7. The ,Operation Guides which relate to the handling of
hail claims in Texas in effect from the date of loss at issue in this case, and back one and
forward one year. If the party answering this request is an independent adjuster, produce
the requested documents for both the independent adjusting company and the party
[carrier] that hired you with respect to this claim.

Response:

Reguest for Production No. 8. The adjusting reports estimates and appraisals prepared
concerning Plaintiffs underlying claim and any claims for damages you contend are
related to the underlying claim,

 

Response:

Reg'uest for Produfctior_i No. 9. Any engineering or other reports prepared concerning
Plaintiffs underlying claim and any claims for damages you contend are related to the
underlying claim,

Response:

B_g:_quest for Pro@tion No. 10. lf you dispute that the cause of the loss was related
solely to a storm during the policy period at issue, produce all reports in your possession
regarding damage to any property within a one-mile radius of the Plaintiffs insured
property, and produce any reports concerning hail such radius

Response:

Reguest for Production No. 11. If you contend that the damages are caused by anything
other than the event at issue in the underlying claim, produce all related claim files
reports and photos in your possession

 

Case 4:16-cV-OO674 Document1-1 Filed in TXSD on 03/14/16 Page 26 of 29

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_ Reguest for Production No. 12. Any roofing repair reports prepared concerning the
Insured Location. '

Res onse:

Reguest for Production No. 13. The field notes measurements and file maintained by
the adjuster(s) and/or engineers who physically inspected the subject property.

 

Response:

Reguest for Production No. 14. The emails, instant messages and internal
correspondence pertaining to Plaintiff’s underlying claim.

Response:

Reguest for Production No. 15. The videotapes photographs and records of Plaintiff or
Plaintiffs home, regardless of whether you intend to offer'these items into evidence at
tiial. ‘ ~`

Responsc:

B§guest for Product_i_t_)_i_i No. 16. Defendant’s(s’) internal newsletter, bulletins
publications and memoranda relating to policies and procedures for handling Texas hail
claims that were issues from one year prior to the date of loss at issue to one year after
the date, including , but not limited to, memoranda issued to claims adjusters

Resp_onse:

Reguest for Production No. 17. The price guidelines that pertain to the handling of
claims arising out of hail storms In the event you utilize published guidelines or “off the
shelf’ software, without medication, as your price guidelines you may respond by simply
identifying by name, version, and/or edition the published guidelines you use

Response:

 

Case 4:16-cV-OO674 Document1-1 Filed in TXSD on 03/14/16 Page 27 of 29

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Reguest for Production No. 18. The Plaintiff s file from the office of their insurance
agent. '

Response:

Reguest for Production No. 19. The information regarding weather condition on which
you relied in making decisions on the Plaintiff’ s claims

Response:

Reguest of Production No. 20. The documents manuals and training materials
including audio and/or video tapes used in training, overseeing or supervising your
personnel employed in adjusting property claims in Texas and in effect from one year
prior to the date of loss at issue through one year after such date

Resp_onse:

Reguest for Production No. 21. The “Pay sheet,” “Payment Log,” or list of payments
made on Plaintiff’s claim. This includes all indemnity, claim expenses and third party

payments
Response:

Reguest for Production No. 22. The billing statements including billing detail, of the
independent adjusters and engineers retained to evaluate the subject property.

Response:

Reguest for Production No. 23. The documents reflecting reserves applied to the subject
claim,

Response:

Reguest for Production No. 24. For the past five years the portions of the personnel file
of the adjuster(s) involved in handling Plaintiffs claim that pertain to disciplinary actions
associated with claims handling, and performance under a bonus or incentive plan.

Response:

 

Case 4:16-cV-OO674 Document 1-1 Filed in TXSD on 03/14/16 Page 28 of 29

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Reguest for Production No. 25. The managerial bonus or incentive place for managers
responsible for windstorm claims in effect for the time period one year prior to the date of
loss at issue through one year after such date

Response:

Reguest for Production No. 26. The bonus or incentive plan for adjusters in effect for
the time period one year prior to the date of loss at issue through one year alter such date,

Response:

Re_quest for Production No. 27. The documents reflecting your criteria and procedures
for the selection and retention of independent adjusters and engineers handling
windstorm claims in Texas nom one year prior to the date of loss at issue through one
year alter such date,

Response:

nguest for Prod_i_iction No. 28. If a third party evaluated the subject property, provide
the documents that show the number of other matters in which the same such person(s)
were retained by you to evaluate other properties over the past five years

Response:

Reguest for Production No. 29. The Complaint Log required to be kept by you for
windstorm complaints in Texas filed over the past three years

Response:

Reguest for Production No. 30. Your approved or preferred vendor list for engineers
third party adjusters/adjusting companies roofers and contractors for windstorm claims
in Texas from one year prior to the date of loss at issue through one year after such date.

Resgonse:

Request for Production No. 31. The contract between the Defendant insurer and the
Defendant third party adjusting company.

 

Response:

 

Case 4:16-cV-OO674 Document 1-1 Filed in TXSD on 03/14/16 Page 29 of 29

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Reguest for Prodi_ictioi_i_ No. 3L The correspondence between the Defendant insurer and
the third party adjusters/adjusting firms engineers and other estimators who work on the
claim that pertain to the Claim at issue

Resgonse:

Reguest for Production No. 33. Produce the claim file for all property damage claims
made by persons for the same date of loss as Plaintiffs claim. This request is limited to
persons who love within a 5 mile radius of Plaintiff’ s insured residence

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